          Case 1:18-cr-00307-CRC Document 1 Filed 10/11/18 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                    Holding a Criminal Term

                             Grand Jury Sworn in on May 3, 2018

UNITED STATES OF AMERICA                     :      CRIMINAL NO.
                                             :
                 v.                          :      GRAND JURY ORIGINAL
                                             :
KAREEM JENKINS,                              :      VIOLATION:
                                             :      18 U.S.C. § 751(a)
                      Defendant.             :      (Escape from Custody)

                                      INDICTMENT

       The Grand Jury charges that:

                                         COUNT ONE

       On or about September 6, 2018, within the District of Columbia, KAREEM JENKINS,

did knowingly escape from the custody of the Bureau of Prisons, an institutional facility in which

he was lawfully confined at the direction of the Attorney General by virtue of a judgment and

commitment of the Superior Court for the District of Columbia upon conviction for the

commission of First Degree Theft, a violation of Title 22, District of Columbia Code, Section

3211, 3212(a).

       (Escape from Custody, in violation of Title 18, United States Code, Section 751(a))

                                             A TRUE BILL:


                                             FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
